Case 1:23-cv-02006-APM Document 11-4 Filed 08/23/23 Page 1 of 12

From: Christopher Williams

To: Joe Cammarata

Ce: Kayann Chambers

Date: Tuesday, August 15, 2023 4:10:32 PM

Attachments: Image002.ong
image003.png
image006.png
image007.png
image008.png
image009. png

Hi Joe,

Any of those alternate dates work for me and we’re fine with a motion to postpone the scheduling
conference.

The address that Lyft has for the driver is 3701 S. George Mason Dr. Apt. 2201 North, Falls Church,
Virginia 22041. | think that’s the same address in the complaint, so I’m sorry that it’s not helpful. One
lead though — he might've just been arrested in Arlington Crime Report: August 3, 2023 — Official

rlin ir

Finally, for mediation, we propose Judge Richard Levie, Judge Joanne Alper, or Ms. Linda Singer as
mediators.

Best,
Chris

Christopher R. Williams | Associate
+1 202-747-3275 | direct
CWilliams@sheppardmullin.com | Bio

SheppardMullin

2099 Pennsylvania Avenue, NW, Suite 100
Washington, DC 20006-6801
+1 202-747-1900 | main

www. sheppardmullin.com | Linkedin | Twitter

From: Joe Cammarata <joe@dc-law.net>

Sent: Tuesday, August 15, 2023 2:42 PM

To: Christopher Williams <CWilliams@sheppardmullin.com>

Ce: Kayann Chambers <chambers@dc-law.net>

Subject: RE: Doe v. Lyft - Driver's Last known address and contact information.

Chris,
We are in receipt of the Court’s Order for Initial Scheduling Conference,
setting it for September 12 at 9a.m. Unfortunately, | have a conflict. |

EXHIBIT

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intend to file a motion asking for a new date. In that motion, we have
to identify two dates and times for which there is no conflict. | propose
the following: September 18, 19, 20 (p.m.), October 2, 3. Please advise
which of those dates and times will work for you.

Thanks,
Joe

CammarataSignature

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Bi eB ||

From: Joe Cammarata

Sent: Tuesday, August 15, 2023 9:02 AM

To: Christopher Williams <CWilliams@sheppardmullin.com>

Ce: Kayann Chambers <chambers@dc-law.net>

Subject: RE: Doe v. Lyft - Driver's Last known address and contact information.
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Chris,

Will you consent to extension of 60 days to serve Lyft driver, and to
permit limited discovery of Lyft (deposition) to obtain identifying
information of Lyft driver? Please let me know your response to each of
these questions today.

Thanks,

Joe

CammarataSignature

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| AVRating |

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el | | (eal | |

From: Joe Cammarata <joe@dc-law.net>
Sent: Thursday, August 10, 2023 3:50 PM
To: Christopher Williams <CWilliam i >

Ce: Kayann Chambers <chambers@dc-law.net>; Joe Cammarata <joe@dc-law.net>
Subject: Re: Doe v. Lyft - Driver's Last known address and contact information.

Chris,
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Thanks for the explanation. However, | do not think there was nay ambiguity that | still needed the
driver's information. Please provide it no later than tomorrow. This is not complicated.

Thanks,

Joe

Joseph Cammarata, Esq.

Chaikin, Sherman, Cammarata & Siegel, P.C.
1232 17th Street, N.W.

Washington, D.C. 20036

202-659-8600

Sent from my iPad

On Aug 10, 2023, at 3:06 PM, Christopher Williams <CWilliams@sheppardmullin.com>

wrote:

Hi Joe,

Based on our conversation and your email on July 27, we were under the impression
that you received the driver’s information directly from Lyft via other means and didn’t

need it from us. | thought your reference to it in your August 7* email was in error. My
email referenced your proposed mediator, which | am discussing with my client as they
may have other potential mediators in mind.

Chris

Christopher R. Williams | Associate
+1 202-747-3275 | direct
CWilliams@sheppardmullin.com | Bio

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Washington, DC 20006-6801
+1 202-747-1900 | main

www.sheppardmullin.com | Linkedin | Twitter

From: Joe Cammarata <joe@dc-law.net>
Sent: Thursday, August 10, 2023 10:03 AM

To: Christopher Williams <CWilliams@sheppardmullin.com>
Cc: Kayann Chambers <chambers@dc-law.net>; Joe Cammarata <joe@dc-law. net>
Subject: Re: Doe v. Lyft - Driver's Last known address and contact information.

Chris,
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It is unclear what you are asking for from your client, as | expected based on earlier
conversations that you had already asked your client for the driver’s information.
Please clarify.

If this is the first they are hearing about this request, then | must file a motion for
limited discovery, as | noted in an earlier email, and request additional time to serve
the driver. Please advise if you consent to this motion.

Thanks,

Joe

Joseph Cammarata, Esq.

Chaikin, Sherman, Cammarata & Siegel, P.C.
1232 17th Street, N.W.

Washington, D.C. 20036

202-659-8600

Sent from my iPad

On Aug 10, 2023, at 9:53 AM, Christopher Williams
<CWilliams@sheppardmullin.com> wrote:

Thanks Joe. I’ve forwarded this to my client. Aiming to get back to you
before the end of the week.

Christopher R. Williams | Associate
+1 202-747-3275 | direct
CWilliams@sheppardmullin.com | Bio

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Washington, DC 20006-6801
+1 202-747-1900 | main

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From: Joe Cammarata <j -law.net>

Sent: Monday, August 7, 2023 11:41 AM

To: Christopher Williams <CWilllams@shepnardmullin.com>

Cc: Kayann Chambers <chambers@dc-law.net>

Subject: RE: Doe v. Lyft - Driver's Last known address and contact
information.

Importance: High

Chris,
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Just following up on our last conversation. First, | still
need the driver’s contact information. Second, |
propose Joan Zeldon as a mediator. Please let me
hear from you asap.

Thanks,

Joe
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From: Joe Cammarata

Sent: Thursday, July 27, 2023 10:49 AM

To: Christopher Williams <CWilliams@sheppardmullin.com>
Cc: Kayann Chambers <chambers@dc-law,net>

Subject: RE: Doe v. Lyft - Driver's Last known address and contact
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information.

Chris,

Thanks for your call this morning. | am confirming |
told you that the Detective investigating the matter
was able to obtain the driver’s contact information
directly from Lyft. Further, my client is agreeable to
your suggestion of early mediation. We will provide
you with some names of suggested mediators.
Thanks,

Joe

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From: Joe Cammarata

Sent: Wednesday, July 26, 2023 4:47 PM

To: Christopher Williams <CWilliams@sheppardmullin.com>

Cc: Kayann Chambers <chambers@dc-law,net>

Subject: RE: Doe v. Lyft - Driver's Last known address and contact
Case 1:23-cv-02006-APM Document 11-4 Filed 08/23/23 Page 10 of 12

information.
Importance: High

Chris,

| hope you had a nice vacation.

| just left you a message. Please call me. | again ask
you to provide me with the last known address and
contact information of the Lyft driver involved in this
matter. | understand Lyft may want to keep it
confidential, and | agreed to do so. If | do not get
voluntary cooperation, then | will ask the court to
permit a preliminary deposition of Lyft to obtain that
information. | trust that will not be necessary.

| look forward to hearing from you no later than
Monday, July 31 with the address and contact
information.

Thanks,

Joe
Case 1:23-cv-02006-APM Document 11-4 Filed 08/23/23 Page 11 of 12

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From: Christopher Williams <CWilliams@sheppardmullin.com>
Sent: Thursday, July 13, 2023 2:34 PM

To: Joe Cammarata <joe@dc-law.net>

Ce: Kayann Chambers <chambers@dc-law.net>

Subject: Doe v. Lyft - Consent to the Motion to Extend the time to

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Respond
Hi Joe,

This is to confirm our conversation that you don’t oppose our motion for
an extension of time to answer or otherwise respond until August 9, 2023.
Thanks again for reaching out today, looking forward to working with you.

Best,
Chris

Christopher R. Williams | Associate
+1 202-747-3275 | direct
CWilliams@sheppardmullin.com | Bio

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